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FoR THE EASTERN DISTRICT oF vIRGINIA x §

Alexandria Division ‘ Ca..`,_-=-» _- v '\ "`"*1"'.'£-,» '

 

SAADIQ LoNo, et al_, i
Plaintz`ffs*, §

V' § Civil Action No. l:l 5-cv-1642
LORETTA LYNCH, in her official capacity as l
Attorney General of the United States, et al., §
Dejendanfs. §
ORDER

This matter comes before the Court on Plaintiffs’ Emergency Motion for a Ternporary
Restrainin<c,:r Order, Dkt. No. 2, and Ernergency Motion for Prelirninary Inj unction, Dkt. No. 3.'
The Court held a hearing on the Motions on Decernber 21, 2015. For the reasons stated in Court,
and as outlined below, the Court finds Plaintiffs have not met their burden in seeking a
Ternporary Restraining Order (“TRO”) or a Prelilninary Injunction. The Motions are, therefore,
DENIED.

I. Background

This case involves a dispute over Defendants’ alleged placement of Plaintiffs Saadiq
Long, Juangjan Daves, and Leshauna Daves on the United States Govemrnent’s “No F ly List.”
The No Fly List is “a list of persons Who are prohibited from boarding an aircraft” because they

are suspected terrorists and a threat to civil aviation and national security. Mohamed v. Holder,

 

l Plaintit`fs filed two identical documents entitled “Emergency Motion for Temporary Restraining Order andjor
Preliminary lnjunction” that appear as Documents 2 and 3 on the docket Although the documents are identical, the
docket identities Document 2 as an “Emergency Motion for Temporary Restraining Order” and Document 3 as an
“Emergency Motion for Pre!iminary lnjunction.” The Court treat these documents as two Separate motions as
identified by their docket entries.

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995 F. Supp. 2d 520, 526 (E.D. Va. 2014). Plaintiffs, an American Muslim family of three, are
United States citizens Who are currently in the custody of the Government of Turkey. Plaintiffs
allege that their inclusion on the No Fly List caused them to be detained and is preventing them
from freely traveling internationally.

A. T he No Fly List

The No F ly List is a subset of individuals in the Terrorist Screening Database (TSDB), a
consolidated “watchlist” of suspected terrorists. Latifv. Holder, 969 F. Supp. 2d, 1293, 1296-97
(D. Or. 2013). The Terrorist Screening Center (TSC), an entity administered by the FBI,
maintains the TSDB. Id. The TSC receives nominations for inclusion in the TSDB from the
National Counterterrorism Center and the FBI. Mohamed, 995 F. Supp. 2d at 526. The
Govemrnent has a “minimum substantive derogatory criteria” that must be met in order for a
nominated individual to be placed in the TSDB. Id. “[A]dditional derogatory requirements”
must be met for the TSC to place an individual on the No Fly List. Ia'. TSC gives the
maintained No Fly List to the Transportation Security Adrninistration (TSA) “for use in pre-
screcning airline passengers.” Latz'f, 969 F. Supp. 2d at 1297.

Congress charged the Department of Homeland Security with providing individuals with
a mechanism for challenging, among other things, their inclusion in the TSDB or on the No Fly
List. 49 U.S.C. § 44926(a) (“The Secretary of Homeland Security shall establish a timely and
fair process for individuals who believe they have been delayed or prohibited from boarding a
commercial aircraft because they were wrongly identified as a threat under the regimes utilized
by the Transportation Security Administration, United States Customs and Border Protection, or
any other office or component of the Department of Homeland Security.”). In response to this

charge, the DHS Traveler Redress Inquiry Program (“DHS TRIP”) was established Mohamed,

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995 F. Supp. 2d at 527. To initiate the DHS TRIP, a traveler must send a Traveler Inquiry Form
to DHS TRIP. Initially, an individual Who submitted a Traveler Inquiry Form to DHS TRIP
generally received a letter “that neither confirmed nor denied their No Fly status.” See Mohamea’
v. Holder, Case No. 1:11-cv-50, Dkt. No. 188 (E.D. Va. April 13, 2015). However, DHS TRIP
was revised in early 2015. Id. Now, an individual who submits an inquiry to DHS TRIP will
“receive a letter providing his or her status on the No Fly List and the option to receive and/or
submit additional information.” Id. At the individual’s request, DHS TRIP will provide a
second, more detailed letter that identifies Why the individual was placed on the No Fly List and
providing that individual “an opportunity to be heard further concerning their status.” Id. If the
individual continues to seek redress, the Administrator of the TSA will review the individual’s
submissions and issue a final determination on the individual’s status. Id. The individual may
seek judicial review of this final determination under 49 U.S.C. § 46110. Id.

B. T he 2012-2013 Incidents

Plaintiff Long alleges that he first learned that he was on the No Fly List when he tried to
fly from Qatar to Oklahoma to visit his ailing mother in 2012. Compl. Dkt. l, 1161-62. At that
time, Long was told that he was not allowed to fly to the United States. However, “[a]fter
several months and substantial local, national, and international media coverage,” Long was
finally permitted to fly to Oklahoma. Id. at 11 63. Several months later, Long attempted to fly
back to Qatar, but the FBI refused to allow Long to board the plane. Id. Long then took a bus to
Mexico and flew back to Qatar via an unidentified country in South America. Id. at ‘|l 69. Long
asserts that he challenged his inclusion on the No Fly List through DHS TRIP in 2012. Long,
however, did not seek judicial review of the final administrative decision and has not submitted

an inquiry to DHS TRIP after the revised policies were put into place.

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C. Plainti]jfs ’ Detention in Turkey

There is no dispute that the Plaintiffs are currently being held in Turkey by the Turkish
Government. However, the parties have presented two differing set of facts that led up to the
Turkish Government taking Plaintiffs into custody. According to Plaintiffs, in OCtober of 2015,
they traveled from Qatar, Where they were living, to Turkey, “to explore work opport\mities.”

Id. at 1[ 70. Shortly after arriving in Turkey, “the Turkish government detained Plaintiffs because
the United States had flagged their passports.” Id. at 11 71. Plaintiffs believe their passports were
flagged and they were taken into custody because their names are on the No Fly List. Id. at

M 73, 75.

The Defendants, in contrast, assert that Plaintiffs were taken into custody after the
Turkish National Police (“TNP”) received a tip on a hotline the TNP had established for
reporting suspicious behavior following the October 10, 2015, suicide bombing in Ankara,
Turkey. Decl. John B. Phillips, III, Def. Ex. 1, Dkt. No. 9-2, 1[ 7. When the TNP received that
call, Plaintiffs were staying in Gaziantep, Turkey, Which is near the border with Syria. After the
Ankara bombing, the TNP had increased its authority to detain and deport foreigners in this
Syrian border region. Id. Based on the hotline tip, the TNP located Plaintiffs and detained them.
Id. The TNP determined Plaintiffs had neither legal residence nor legal employment in Turkey
and could not locate a record of Plaintiffs entering Turkey legally. Ia'. at 1]1[ 8-9.

On November 3, 2015, The Turkish Government notified the U.S. Embassy in Ankara,
that the TNP had detained Plaintiffs. Decl. Rachel Crawford, Def. Ex. 2, Dkt. No. 9-1, 11 2.

After transferring Plaintiffs to immigration detention, the Turkish Govemment informed both the
U.S. Embassy and Plaintiffs that Plaintiffs Would be deported to the United States. Id. at 11 2-4.

The Turkish Govemment also told Plaintiffs that they could be released to return to the United

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States at any time provided that they paid for their plane tickets. Id. at 11 7. On December 3,
2015, a friend of the Plaintiffs contacted the U.S. Embassy and informed the staff there that he
had arranged for the Plaintiffs to travel to the United States. Ia'. at 1[ 6. The US Embassy did not
object to the proposed travel plans. Id. Not wanting to travel to the United States, Plaintiffs
rejected the proposed plans. Id. Plaintiffs apparently do not want to leave Turkey because they
fear their inclusion on the No Fly List will prevent them from leaving, and returning to their
home in Qatar, once they have arrived in the United States. Compl., Dkt. 1, 1[ 78.

Instead of obtaining release from the Turkish Government by flying to the United States,
Plaintiffs sought assistance from this Court. Plaintiffs filed the current action in this Court on
December 11, 2015. Plaintiffs simultaneously filed an Emergency Motion for a Temporary
Restraining Order and an Emergency Motion for a Preliminary Injunction. These Motions for
preliminary relief ask this Court to “order Defendants to remove plaintiffs from the No Fly List
so that they can travel to the United States by plane and know that they Will be able to leave by
plane as well.” Id.

II. Legal Standard

The legal standard for granting a temporary restraining order is the same as that for
granting a preliminary injunction. Moore v. Kempthorne, 464 F. Supp. 2d 519, 525 (E.D. Va.
2006). To obtain a preliminary inj unction, and thus a TRO, a plaintiff must establish that (1) he
is likely to ultimately succeed on the merits of his claims; (2) that he is likely to suffer
irreparable harm in the absence of preliminary relief; (3) that the balance of equities tips in his
favor; and (4) that granting the requested interim relief is in the public interest. Winter v. Nat.
Res. Defense Council, 555 U.S. 7, 24 (2008). Prior to Winter, the Fourth Circuit used a “balance

of hardships test,” under which only some of the above four factors needed to be satisfied.

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Pashyby v. Delia, 709 F.3d 307, 320-21. In light of Winter, the Fourth Circuit now requires that
each of the four preliminary injunction factors be satisfied. Id. The Fourth Circuit has also
recognized that interim relief is an “extraordinary remedy involving the exercise of a very far-
reaching power,” Which Should be utilized only in the rare circumstances “which clearly demand
it.” Dz'rex Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 811 (4th Cir. 1991) (citation
omitted).

III. Discussion

A. Whether Plainti]jfs Have Established T hat They Are Likely To Ultimately Succeed on
the Merits of T heir Claims

In order to obtain a TRO, Plaintiffs must first establish that they are likely to succeed on
the merits of their claims. Winter, 555 U.S. at 20. Plaintiffs have brought two causes of action:
(l) deprivation of protected liberties in violation of their Fifth Amendment right to due process;
and (2) unlawful agency action in violation of the administrative procedure act. Dkt. 1, 16-18.
However, Plaintiffs’ memorandum focuses solely on the substantive due process challenge
Plaintiffs are asserting a broad constitutional challenge to the use of the No Fly List in any and
all circumstances

The Court need not weigh in on the constitutionality of the No Fly List at this time. As
explained below, Plaintiffs have not established the other three elements required to obtain a
TRO or a preliminary injunction. Further, the complexity of the legal issues is better addressed
when the parties have more fully briefed the issue and the Court has had more time to carefully

consider the legal questions at hand.

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B. Whether Plaintiffs are Likely to Su]j”er Irreparable Harm in the Absence of
Preliminary Relief

Plaintiffs next must demonstrate that they are likely to suffer irreparable injury if interim
relief is not provided. Winter, 555 U.S. at 20. Irreparable injury must be “likely,” not merely
possible. Id. at 22. Granting interim relief “based only on a possibility of irreparable harm”
would be inconsistent With the “characterization of injunctive relief as an extraordinary remedy.”
Id. Further, irreparable harm cannot be “remote nor speculative;” rather, for a preliminary
injunction to issue, irreparable harm must be “actual and imminent.” Direx Israel, Lta’. v.
Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991).

Plaintiffs argue that they have already suffered irreparable injury in the form of
“involuntary exile from their country of citizenship” in violation of their constitutional rights
Dkt. 4, at 21. Plaintiffs maintain that they will continue to suffer this injury in the absence of
preliminary relief. Id. Plaintiffs also assert that the “psychological stress of being in the custody
of the Turkish govemment” is an irreparable injury that they continue to endure. Ia’. at 22.

Plaintiffs’ claim of irreparable injury in the form of “involuntary exile” is not persuasive
Turkish authorities have told Plaintiffs and the U.S. Embassy that Plaintiffs may return to the
United States at any time they desire, so long as they purchase their plane tickets. Def. Ex. 2,

11 7. Plaintiffs could obtain a loan from the United States Governrnent to purchase such plane
tickets. See 22 U.S.C § 2671(b)(2)(B). In addition, in early December, 2015, Plaintiffs rejected
an opportunity to travel to the United States that had been arranged by a family friend and
cleared by the U.S. Embassy. Considering these facts, this Court cannot conclude that Plaintiffs
are “exiled” when the reality is that Plaintiffs have consciously and affirmatively chosen to

remain in Turkey.

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Plaintiffs’ Complaint also asserts that without immediate relief they “cannot make a
responsible decision about Whether to return to the United States by plane Without knowing that
they will be able to later leave the United States by plane.” Compl., Dkt. 1, 1[ 78. Being unable
to “make a responsible decision” is not an irreparable injury that justifies the extreme remedy of
issuing a TRO or a preliminary injunction While being immediately unable to leave the United
States might constitute irreparable injury as an encroachment on the freedom of movement
possessed by every citizen, that is not what Plaintiffs are asserting Rather, at best Plaintiffs are
asserting that they may not be permitted to leave the United States at some unspecified point in
the future if they first choose to return to the United States and then chose to leave. This alleged
injury lacks both the certainty and immediacy required at the TRO stage. See Direx Israel, 952
F.2d at 812. Further, while the Complaint asserts that Long has experienced difficulty traveling
to and from the United States, the Complaint is free of concrete facts that indicate Juangjan
Daves or Leshauva Daves will have similar experiences if they return to the United States.

Finally, this Court finds Long’s delay in challenging his placement on the No Fly List
significant Long alleges that he has been on the No Fly List since 2012. As made clear at oral
argument, Long challenged his inclusion on the List through DHS TRIP in 2012. However,
Long did not seek judicial review of the outcome of that administrative action, nor did he seek
redress under the revised DHS TR_IP procedures announced earlier this year. See Mohamed v.
Holder, 1:11-cv-50, Dkt. No. 188 (April 13, 2015). lnstead of going through the proper
channels, Long Waited until he found himself in this predicament to seek relief`. Plaintiffs’
ability to make a “responsible decision about whether to return to the United States by plane” is
just as cognizable now as it was a few months ago. Considering this delay in seeking relief the

Court cannot conclude that this is an irreparable harm which demands immediate action.

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C. Whether the Balance of Equities and the Public Interest Wez'gh in Plaintiffs ’ Favor

The third and fourth factors this Court must consider is whether the balance of equities
tips in Plaintiff`s’ favor and Whether it is in the public’s interest to grant the requested interim
relief. Plaintiffs have completely omitted any discussion of the balance of equities while
Defendants have addressed these two factors together. The Court will thus similarly consider
these factors collectively.

Plaintiffs’ only argument on these factors is that it is in the public’s best interests to
prohibit the government from implementing a policy whereby fundamental rights are deprived.
Defendants, in response, argue that removing someone from the No F ly List without robust
administrative and judicial review, could render U.S. aviation Vulnerable and place the public in
danger. This Court has recognized that the U.S. Govemment has a “compelling” duty to “protect
our country from its enemies, foreign and domestic.” Mohamed v. Holder, 995 F. Supp. 2d 520,
527 (E.D. Va. 2014). The Govemment uses the No Fly List as a tool to help insure that “a
commercial aircraft” is not used “as an instrument of mass murder.” Id. The Defendants thus
have an interest in the firll and continued use of this List to fulfill their governmental duties. lt is
correlativer in the public’s interest for this Court to deny preliminary relief because public
safety is furthered by the use of the No Fly List. Plaintiffs’ argument that they are being
deprived of their fundamental rights is best addressed when a complete factual record is
presented and the Court can give due consideration to the issues. Only then can the Court
properly weight the competing national security and public safety issues against the fully
developed constitutional claims brought by Plaintiff`. Accordingly, the Court finds the third and

fourth factor Weigh in the Defendants’ favor and against granting the present Motions.

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IV. Conclusion
For the reasons outlined above, the Court ORDERS that the Emergency Motion for a

Temporary Restraining Order is DENIED. The Court further ORDERS that the Emergency

Motion for Preliminary Injunction is DENIED.

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